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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER:


                                                                    2:22−cv−02944−FLA−PD
 GARRY MATTHEWS, et al.
                                                  Plaintiff(s),

          v.
 CITY OF LOS ANGELES, et al.
                                                Defendant(s).
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                                    ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

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 Date Filed:         5/6/2022
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                                                Clerk, U.S. District Court

 Dated: May 9, 2022                             By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                   Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge



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CasePlease
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           refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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